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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 MYESHIA S. AMBROSE-FRAZIER,                                      CIVIL ACTION
    Plaintiff

 VERSUS                                                           NO. 15-1324

 HERZING, INC., ET AL.,                                           SECTION: “E” (3)
     Defendants


                               ORDER OF DISMISSAL
      The Court having been advised by counsel for all parties that they have firmly

agreed upon a compromise in this matter;

      IT IS ORDERED that this action be and is hereby dismissed as to all parties,

without costs and without prejudice to the right, upon good cause shown, within sixty

days, to reopen the action if the settlement is not consummated. In addition, the Court

specifically retains jurisdiction to enforce the settlement agreement if settlement is not

consummated within sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d

424, 430 (5th Cir. 2002).

      COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.

              New Orleans, Louisiana, this 15th day of April, 2016.


                     _______________________ ________
                              SUSIE MORGAN
                       UNITED STATES DISTRICT JUDGE
